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                                                                                          FILED
                                                                                        U.S. DISTRICT COURT
                                                                                    EASTERN DISTRICT ARKANSAS
                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS         APR 0 S1 2018
                                PINE BLUFF DIVISION        JAME~CORMACK, CLERK
                                                                             .By.   -                  DEP CLERK

AUSTIN J. BURNS, ADC # 551922                                                           PLAINTIFF

v.                             CASE NO. 5:17CV223 JLH/JTR

KENDRICK R. AVERY, CHRIS BUDNIK,
AND KENNETH STARKS                                                                  DEFENDANTS

              BRIEF IN SUPPORT OF DEFENDANT AVERY'S MOTION
           TO FILE PHOTOGRAPHS AND VIDEO EVIDENCE UNDER SEAL

       Pursuant to Rule 7.2 of the Local Rules and Scheduling Order (Doc. No. 24) Defendant

Kedrick Avery, by and through his attorneys, Attorney General Leslie Rutledge and Assistant

Attorney General Vincent P. France, and for his brief in support of his motion to file video

recordings and photographs under seal.

       Plaintiff filed this lawsuit claiming that Defendant Avery used excessive force against

him. In accordance with the Scheduling Order (Doc. No. 24) Defendant Avery has secured and

seeks to produce under seal photographs and a video recording relating to the incident in

question. Defendant Avery has photographs of the officers who had bodily fluid thrown onto

them by one of the inmates in Plaintiff's cell that required the use of force to extract the inmates

from the cell. The video recording is of the cell extraction in response to the officers having

bodily fluids thrown onto them. Thus, the evidence contained in the photographs and video

footage are vitally important to Defendant Avery's case.

       The dissemination of the photographs and video pose a significant risk to the security of

the prison because inmates would learn the nature, location, the view captured, and the quality of

the video especially given the area of the prison in which this video footage is taken. Thus,

Defendants ask that they be allowed to submit the video surveillance under seal pursuant to


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Federal Rule of Civil Procedure 5.2, and that they be allowed to make general references to the

video footage in any future pleadings they file.

       WHEREFORE, pursuant to Federal Rule of Civil Procedure 5.2, Defendant Avery

respectfully requests that the attached photographs and video be filed under seal because if

disseminated to inmates would cause pose a threat to prison security.

                                              Respectfully submitted,

                                              Attorney General

                                              By:~_.;C (>. ~-
                                              Vincent P. France
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                                              Assistant Attorney General
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                                              Attorneys for Defendant Avery




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                                   Certificate of Service

       I, Vincent P. France, hereby certify that on April 9, 2018, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system.

      I, Vincent P. France, hereby certify that on April 9, 2018, I mailed the foregoing
document by U.S. Postal Service to the following non-CM/ECF participant:

       Austin Jay Bums, ADC #551922
       Pine Bluff Unit
       890 Free Line Dr.
       Pine Bluff, AR 71603-1498

                                                VAe~
                                                  Vincent P. France




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